42 F.3d 1403
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Santos Marcial BENEGAS-VELASQUEZ, Defendant-Appellant.
    No. 94-30037.
    United States Court of Appeals, Ninth Circuit.
    Submitted Oct. 4, 1994.*Decided Oct. 11, 1994.
    
      Before:  BROWNING, FARRIS, and LEAVY, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Santos Marcial Benegas-Velasquez appeals his 77-month sentence imposed following entry of a plea of guilty to illegal reentry after having been deported subsequent to a conviction for an aggravated felony, in violation of 8 U.S.C. Sec. 1326(b)(2).  He contends that due process and principles of estoppel require that his sentence not exceed two years because the Immigration and Naturalization Service incorrectly informed him when he was deported that the maximum prison term for illegal reentry was two years.  Both arguments are foreclosed by our decision in United States v. Ullyses-Salazar, 28 F.3d 932 (9th Cir.1994).  Accordingly, the district court's judgment is
    
    
      3
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    